Case 2:22-cv-05111-PA-JC Document 18 Filed 08/17/22 Page 1 of 2 Page ID #:96




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5
     Eastern Pacific Chartering (22) Inc.
6

7                            UNITED STATES DISTRICT COURT
8
             CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
9
      EASTERN PACIFIC CHARTERING                  Case No. 2:22-cv-05111-PA-JC
10
      (22) INC.,
11                                                IN ADMIRALTY, Fed. R. Civ. P. 9(h)
                Plaintiff,
12                                                NOTICE OF VOLUNTARY
13    vs.                                         DISMISSAL

14    LOUIS DREYFUS COMPANY                       [Fed. R. Civ. P. 41(a)(1)]
      FREIGHT ASIA PTE LTD.,
15

16             Defendant,
17    and
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      DBS BANK LTD.,
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               Garnishee
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23      PLEASE TAKE NOTICE that on or about August 17th 2022, Plaintiff Eastern
24   Pacific Chartering (22) Inc. (“EPC22”) obtained satisfactory security in a parallel
25   action filed by EPC22 against Defendant Louis Dreyfus Company Freight Asia Pte.
26   Ltd. in the United States District Court for the District of Delaware.
27      Accordingly, EPC22 dismisses the instant action pursuant to Fed. R. Civ. P.
28   41(a)(1) without prejudice, with each party to bear its respective attorney’s fees

                               Notice of Voluntary Dismissal                    Page 1
Case 2:22-cv-05111-PA-JC Document 18 Filed 08/17/22 Page 2 of 2 Page ID #:97




1    and costs. No answer or motion for summary judgment has been filed and no other
2    parties have appeared.
3    Date: August 17, 2022.          Respectfully submitted,
4

5                                       /s/ Neil B. Klein
                                     Neil B. Klein
6                                    McKasson & Klein LLP
7                                    Attorneys for Plaintiff Eastern Pacific
                                     Chartering (22) Inc.
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                              Notice of Voluntary Dismissal                    Page 2
